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                                                                                                                              EXHIBIT A
                                                                             NBCUniversal Media, LLC Reply in Support of Motion to Dismiss
                             WASHINGTON POST/NBC STATEMENTS CROSS-REFERENCE CHART



  Washington Post (“WaPo”)                     Court Identified Bases for            Sandmann v. NBC Amend. Complaint                      Sandmann v.
        Statement No.1                                 Dismissal                              Paragraph No.                                NBC Amend.
 (Washington Post Case Doc. 47)               (Washington Post Case Doc.                                                                    Complaint
                                                          47)                                                                                Statement
                                                                                                                                               Chart
                                                                                                                                             Category
                                                                                                                                            (Doc. 29-2)
                    1                            Not “about” Sandmann                                   ¶ 252(f)                                  2
                                                                                                        ¶ 428(c)                                  2
 Headline: “‘It was getting ugly’:            “surrounded” and “ugly” are                               ¶ 282(g)                                 13
 Native American drummer speaks                    matters of opinion                                   ¶ 313(h)                                 16
 on the MAGA-hat wearing teens                                                                          ¶ 558(b)                                 49
       who surrounded him”                           Not defamatory

                    2                            Not “about” Sandmann                   ¶¶ 252(i), 335(d)(i), 384(b), 500(d)                    2
                                                                                                      ¶ 370(f)                                  2
“In an interview Saturday, Phillips,             “felt threatened” and                                ¶ 411(b)                                  2
  64, said he felt threatened by the           “swarmed” are subjective                               ¶ 428(b)                                  2
    teens and that they suddenly                  matters of opinion                                  ¶ 428(c)                                  2
 swarmed around him as and [sic]                                                                      ¶ 442(b)                                  2
other activists were wrapping up the                 Not defamatory                                   ¶ 541(a)                                  2
   march and preparing to leave.”                                                                     ¶ 282(e)                                  4
                                                                                                      ¶ 402(c)                                 22
                                                                                                      ¶ 457(c)                                 33
                                                                                                      ¶ 500(h)                                 42




      1
          This chart does not include WaPo Statements Nos. 10, 11 & 33, as the Court has not dismissed claims based on those statements.

                                                                             1
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                                                                                                                 EXHIBIT A
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                3                       Not “about” Sandmann                        ¶ 252(c)                          1
                                                                                    ¶ 252(d)                          1
   “Phillips, who was singing the     What constitutes “taunting”                   ¶ 268(a)                          1
American Indian Movement song of       is a subjective matter of                    ¶ 268(c)                          1
 unity that serves as a ceremony to             opinion                             ¶ 313(a)                          1
    send the spirits home, said he                                                  ¶ 313(b)                          1
    noticed tensions beginning to          Not defamatory                           ¶ 350(a)                          1
  escalate when the teens and other                                                 ¶ 350(b)                          1
    apparent participants from the                                                  ¶335(b)                           1
 nearby March for Life rally began                                                  ¶ 370(a)                          1
 taunting the dispersing indigenous                                                 ¶ 370(b)                          1
               crowd.”                                                              ¶ 411(a)                          1
                                                                                    ¶ 514(a)                          1
                                                                                    ¶ 313(f)                          6
                                                                                    ¶ 282(g)                         13
                                                                                    ¶ 541(d)                         13
                                                                                    ¶ 335(a)                         18
                                                                                ¶¶ 514(c), 525(c)                    41
                                                                                    ¶ 541(c)                         43

                4                       Not “about Sandmann”                         ¶ 252(m)                         6
                                                                                     ¶ 268(g)                         6
Headline: “’Opposed to the dignity    What constitutes “taunting”                    ¶ 282(d)                         6
 of the human person’: Kentucky        is a subjective matter of                     ¶ 313(g)                         6
 Catholic diocese condemns teens                opinion                            ¶ 335(d)(iv)                       6
who taunted vet at March for Life.”                                                  ¶ 402(a)                         6
                                           Not defamatory                      ¶¶ 514(d), ¶ 525(d)                    6
                                                                                     ¶ 350(g)                        23




                                                               2
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                                                                                                                    EXHIBIT A
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                  5                        Not “about” Sandmann                        ¶ 282(c)                         12
                                                                                       ¶ 297(a)                         12
     “A viral video of a group of        What constitutes “taunting”                   ¶ 370(d)                         12
  Kentucky teens in ‘Make America         is a subjective matter of
 Great Again’ hats taunting a Native               opinion                (See also paragraphs listed for WaPo
   American veteran on Friday has                                                   Statement No. 3)
    heaped fuel on a long-running,            Not defamatory
  intense argument among abortion
  opponents as to whether the close
   affiliation of many antiabortion
 leaders with President Trump since
he took office has led to moral decay
      that harms the movement.”




                  6                        Not “about” Sandmann                        ¶ 297(c)                          8
                                                                                       ¶ 268(f)                          9
     “The Israelites and students        What constitutes “taunting”                   ¶ 457(b)                          9
exchanged taunts, videos show. The        is a subjective matter of                ¶¶ 514(f), 525(g)                     9
   Native Americans and Hebrew                     opinion                         ¶¶ 514(g), 525(h)                     9
Israelites say some students shouted,                                                  ¶ 500(c)                          9
 ‘Build the wall!’ although the chant         Not defamatory                           ¶ 500(g)                          9
is not heard on the widely circulated                                                  ¶ 549(b)                          9
 videos, and the Cincinnati Enquirer                                                   ¶ 558(e)                          9
 quoted a student at the center of the                                                 ¶ 350(e)                         21
  confrontation who said he did not                                                    ¶ 350(f)                         22
         hear anyone say it.”                                                          ¶ 442(e)                         31
                                                                                       ¶ 541(g)                         45


                                                                  3
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                                                                                                                    EXHIBIT A
                                                                   NBCUniversal Media, LLC Reply in Support of Motion to Dismiss
                  7                      What constitutes “taunting”   (See paragraphs listed for WaPo Statements        (See
                                          is a subjective matter of                  Nos. 3, 5 & 6)                 corresponding
      “The Israelites and students                 opinion                                                               NBC
exchanged taunts, videos show. The                                                                                    Statement
   Native Americans and Hebrew                Not defamatory                                                            Chart
Israelites say some students shouted,                                                                               categories for
‘Build the wall!’ But the chant is not                                                                                  WaPo
    heard on the widely circulated                                                                                   Statements
 videos, and the Cincinnati Enquirer                                                                                Nos. 3, 5 & 6)
 quotes Nick Sandmann, the student
  at the center of the confrontation,
 saying he did not hear anyone utter
              the phrase.”

                  8                        Not “about” Sandmann         (See paragraphs listed for WaPo Statement    (See NBC
                                                                                      No. 3, 5 & 6)                  Statement
“A few people in the March for Life           Not defamatory                                                            Chart
 crowd began to chant ‘Build that                                                                                    categories
 wall, build that wall,’ he [Phillips]                                                                                listed for
                said.”                                                                                                  WaPo
                                                                                                                     Statements
  “At one point, some reportedly                                                                                    Nos. 3, 5 & 6)
    chanted, “Build the wall!”
                 9                         Not “about” Sandmann         (See paragraphs listed for WaPo Statement    (See NBC
                                                                                      No. 3, 5 & 6)                  Statement
Jon Stegenga, a photojournalist who           Not defamatory                                                            Chart
drove to Washington on Friday from                                                                                   categories
    South Carolina to cover the                                                                                       listed for
Indigenous Peoples March, recalled                                                                                      WaPo
hearing students say ‘build the wall’                                                                                Statements
 and ‘Trump 2020.’ He said it was                                                                                   Nos. 3, 5 & 6)
    about that time that Phillips
            intervened.”

                                                                  4
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                                                                                                                     EXHIBIT A
                                                                    NBCUniversal Media, LLC Reply in Support of Motion to Dismiss
                 12                        What Phillips saw in             (No corresponding NBC Complaint              (No
                                          Sandmann is a matter of                       statement)                 corresponding
 “Most of the students moved out of             opinion                                                                 NBC
    his way, the video shows. But                                                                                    Complaint
 Sandmann stayed still. Asked why        Not defamatory for Phillips                                                 statement)
  he [Phillips] felt the need to walk     to recite historical facts
 into the group of students, Phillips
said he was trying to reach the top of
  the memorial, where friends were
 standing. But Phillips also said he
saw more than a teenage boy in front
   of him. He saw a long history of
      white oppression of Native
Americans. ‘Why should I go around
him?’ he asked. ‘I’m just thinking of
     500 years of genocide in this
   country, what your people have
  done. You don’t even see me as a
           human being.’”




                                                                    5
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                                                                                                                    EXHIBIT A
                                                                   NBCUniversal Media, LLC Reply in Support of Motion to Dismiss
                 13                       Not “about” Sandmann                         ¶ 252(l)                          5
                                                                                       ¶ 297(b)                          8
 “It clearly demonstrates the validity What constitutes “disrespect”                   ¶ 297(e)                          8
       of our concerns about the       and “ignor[ance]” are matters                   ¶ 313(e)                          8
   marginalization and disrespect of        of personal opinion                        ¶ 313(i)                          8
   Indigenous peoples, and it shows                                                    ¶ 335(c)                          8
  that traditional knowledge is being         Not defamatory                           ¶ 350(c)                          8
 ignored by those who should listen                                                    ¶ 384(a)                          8
most closely,’ Darren Thompson, an                                                     ¶ 411(d)                          8
      organizer for the group [the                                                     ¶ 411(e)                          8
Indigenous Peoples Movement], said                                                     ¶ 411(f)                          8
           in the statement.”                                                          ¶ 428(a)                          8
                                                                                       ¶ 268(h)                         10
                                                                                       ¶ 313(k)                         14
                                                                                       ¶ 384(d)                         24
                                                                                       ¶ 442(a)                         28
                                                                                       ¶ 473(a)                         36
                                                                                       ¶ 473(d)                         39
                                                                                       ¶ 473(e)                         40

                 14                       Not “about” Sandmann                         ¶ 282(f)                         13
                                                                                       ¶ 297(d)                         14
“It’s clear from Friday’s incident on         What constitutes                         ¶ 313(k)                         14
  the Mall that the young men who            “confront[ing]” and                       ¶ 442(a)                         28
   confronted the Native American       “internalized” are subjective
 protester had somehow internalized           matters of opinion
 that their behavior was acceptable.
    It’s hard to read from that one           Not defamatory
 scenario how they look at issues of
race more broadly. But if part of the
    incident on the Mall reflected
 opposition to diversity, those views
      would be in the minority.”

                                                                   6
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                                                                                                                      EXHIBIT A
                                                                     NBCUniversal Media, LLC Reply in Support of Motion to Dismiss
                  15                        Not “about” Sandmann             (No corresponding NBC Complaint              (No
                                                                                         statement)                 corresponding
 “Chase Iron Eyes, an attorney with             Not defamatory                                                           NBC
the Lakota People Law Project, said                                                                                   Complaint
the incident lasted about 10 minutes                                                                                  statement)
 and ended when Phillips and other
       activists walked away.”

                  16                        Not “about” Sandmann                         ¶ 370(f)                          2
                                                                                         ¶ 350(e)                         21
   “’It was an aggressive display of            What constitutes                         ¶ 350(g)                         23
        physicality. They were             “aggressive,” “physicality,”                  ¶ 411(c)                         26
 rambunctious and trying to instigate        and “rambunctious” are                      ¶ 428(f)                         27
   a conflict,’ he [Chase Iron Eyes]      subjective matters of opinion
   said. ‘We were wondering where
their chaperones were. [Phillips] was           Not defamatory
       really trying to defuse the
 situation.’” (second alteration in the
                original).

                  17                        Not “about” Sandmann                          ¶ 252(j)                        3

“Phillips, an Omaha tribe elder who        What constitutes an “anti-
also fought in the Vietnam War, has       Native American sentiment”
 encountered anti-Native American         is in the eye of the beholder
       sentiments before:…”
                                                Not defamatory
 “[Phillips] has encountered anti-
Native American sentiment before:
                ….”




                                                                     7
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                                                                                                                     EXHIBIT A
                                                                    NBCUniversal Media, LLC Reply in Support of Motion to Dismiss
                 18                        Not “about” Sandmann                          ¶ 252(g)                         1
                                                                                         ¶ 428(e)                         6
 ‘”We [CovCath school officials and                Opinion                             ¶ 500(a)(v)                        6
the Diocese of Covington] condemn                                                   ¶¶ 500(e), 541(e)                     6
      the actions of the Covington        What constitutes “jeering”                     ¶ 335(c)                         8
     Catholic High School students          and “disrespectful” are                    ¶ 335(d)(v)                       20
towards Nathan Phillips specifically,    subjective matters of opinion                   ¶ 402(d)                        25
  and Native Americans in general,’                                                      ¶ 428(d)                        25
   the statement said. ‘The matter is
 being investigated and we will take                                       (See also paragraphs listed for WaPo      (See NBC
      appropriate action, up to and                                                  Statement No. 4)                Statement
    including expulsion.’ . . . . The                                                                                   Chart
diocese’s statement expressed regret                                                                                 categories
  that jeering, disrespectful students                                                                                listed for
 from a Catholic school had become                                                                                      WaPo
  the enduring image of the march.”                                                                                Statement No.
                                                                                                                          4)
(same, except that the last sentence
   was omitted in the 3rd Article)




                                                                    8
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                                                                                                                 EXHIBIT A
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                 19                      Not “about” Sandmann       (See paragraphs listed for WaPo Statements    (See NBC
                                                                                  Nos. 4 and 18)                  Statement
  “’We condemn the actions of the              Opinion                                                               Chart
   Covington Catholic high school                                                                                 categories
  students towards Nathan Phillips          Not defamatory                                                         listed for
 specifically, and Native Americans                                                                                  WaPo
    in general,’ a statement by the                                                                               Statements
     Roman Catholic Diocese of                                                                                   Nos. 4 & 18)
 Covington and Covington Catholic
 High School read. ‘We extend our
  deepest apologies to Mr. Phillips.
    This behavior is opposed to the
  Church’s teachings on the dignity
  and respect of the human person.
The matter is being investigated and
we will take appropriate action, up to
 and including expulsion. We know
   this incident also has tainted the
entire witness of the March for Life
and express our sincere apologies to
  all those who attended the March
 and those who support the pro-life
             movement.’”




                                                                9
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                                                                                                                   EXHIBIT A
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                20                               Opinion                                ¶ 473(c)                         38

  “School officials and the Catholic         Not defamatory            (See paragraphs listed for WaPo Statements    (See NBC
   Diocese of Covington released a                                                   Nos. 4 and 18)                  Statement
joint statement Saturday condemning                                                                                     Chart
  and apologizing for the students’                                                                                  categories
     actions. ‘The matter is being                                                                                    listed for
    investigated and we will take                                                                                       WaPo
     appropriate action, up to and                                                                                   Statements
 including expulsion,’ the statement                                                                                Nos. 4 & 18)
                 said.”

                21                               Opinion                               ¶ 384(e)                           6
                                                                                       ¶ 500(b)                           6
   “The Kentucky teens’ church               Not defamatory
apologized on Saturday, condemning                                     (See paragraphs listed for WaPo Statements   (See NBC
       the students’ actions.”                                                       Nos. 4 and 18)                 Statement
                                                                                                                    Chart
                                                                                                                    categories
                                                                                                                    listed for
                                                                                                                    WaPo
                                                                                                                    Statements
                                                                                                                    Nos. 4 & 18)

                22                       Not “about” Sandmann                          ¶ 268(b)                           7

Headline: “Marcher’s accost by boys    “accost” has many meanings
    in MAGA caps draws ire.”           and is a matter of subjective
                                                 opinion

                                             Not defamatory




                                                                 10
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                                                                                                                   EXHIBIT A
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                 23                       Not “about” Sandmann                         ¶ 268(b)                         7
                                                                                       ¶ 313(d)                        15
 “Friday’s incident near the Lincoln     “Rhetoric” or “hyperbole”                     ¶ 313(m)                        18
 Memorial in which a group of high                                                   ¶ 500(a)(iii)                     18
  school boys confronted an elderly     What constitutes “smirking”                    ¶ 473(b)                        37
 Native American man sent a ripple         and what it means to
of fear and anger across the country.     “physically intimidate”
The image of a group of high school     another, are both matters of
  boys clad in ‘Make America Great                opinion
 Again’ hats, smirking and laughing
as one of their members appeared to           Not defamatory
physically intimidate Nathan Phillips
  resurfaced tensions that have been
 simmering since President Trump’s
          campaign began.”




                                                                 11
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                                                                                                                        EXHIBIT A
                                                                       NBCUniversal Media, LLC Reply in Support of Motion to Dismiss
                  24                        Phillip’s opinion of the                       ¶ 252(k)                          4
                                                nation’s status                            ¶ 282(i)                          4
“When I took that drum and hit that                                                        ¶ 558(d)                          4
first beat … it was a supplication to     Labeling someone a racist is                     ¶ 268(d)                          8
    God,” said Nathan Phillips, a             a matter of opinion                          ¶ 297(b)                          8
 member of the Omaha tribe and a                                                           ¶ 297(e)                          8
 Marine veteran. ‘Look at us, God,                                                         ¶ 313(e)                          8
  look at what is going on here; my                                                        ¶ 313(i)                          8
    America is being torn apart by                                                         ¶ 313(j)                          8
racism, hatred, bigotry.”’ (ellipsis in                                                    ¶ 335(c)                          8
              original)                                                                    ¶ 350(c)                          8
                                                                                           ¶ 384(a)                          8
                                                                                           ¶ 411(d)                          8
                                                                                           ¶ 411(e)                          8
                                                                                           ¶ 411(f)                          8
                                                                                           ¶ 428(a)                          8
                                                                                           ¶ 282(h)                         13
                                                                                           ¶ 525(f)                         13
                                                                                           ¶ 370(e)                         22
                                                                                           ¶ 442(d)                         30
                                                                                           ¶ 473(a)                         36




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                                                                                                                       EXHIBIT A
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                  25                           What constitutes                            ¶ 252(a)                         1
                                          “mock[ing]” is Banyamyan’s                       ¶ 252(b)                         1
   “While the groups argued, some             subjective opinion                           ¶ 252(e)                         1
 students laughed and mocked them,                                                         ¶ 268(e)                         1
     according to Banyamyan and                  Not defamatory                            ¶ 282(a)                         1
  another Hebrew Israelite, Ephraim                                                       ¶ 500(a)(i)                       1
Israel, who came from New York for                                                       ¶ 500(a)(ii)                       1
    the event. As tension grew, the                                                        ¶ 500(b)                         6
  Hebrew Israelites started insulting                                                      ¶ 313(l)                        17
 the students. . . . ‘They were sitting                                                  ¶ 335(d)(iii)                     19
there, mocking me as I was trying to                                                       ¶ 402(b)                        19
     teach my brothers, so yes the                                                         ¶ 457(a)                        32
 attention turned to them,’ Israel told                                                    ¶ 541(i)                        47
        The Washington Post.”                                                              ¶ 549(d)                        48


                  26                      What constitutes “issues” is a                   ¶ 541(f)                        44
                                               matter of opinion
    “Phillips said he and his fellow
  Native American activists also had             Not defamatory
  issues with the students throughout
the day. ‘Before they got centered on
the black Israelites, they would walk
through and say things to each other,
 like, ‘Oh, the Indians in my state are
  drunks or thieves,’ the 64-year-old
                  said.”




                                                                     13
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                                                                                                                    EXHIBIT A
                                                                   NBCUniversal Media, LLC Reply in Support of Motion to Dismiss
                 27                       Not “about” Sandmann             (No corresponding NBC Complaint                (No
                                                                                       statement)                   corresponding
  “Phillips said he heard students           Not defamatory                                                              NBC
   shout, ‘Go back to Africa!’”                                                                                       Complaint
                                                                                                                      statement)
                 28                     What constitutes “mocking”                      ¶ 457(a)                           32
                                          is a matter of personal                       ¶ 541(i)                           47
 “’They were mocking my ancestors                opinion                                ¶ 549(d)                           48
in a chant, one of them was jumping
  up and down like a cave man,’ he        Statement is hyperbole        (See paragraphs listed for WaPo Statement     (See NBC
         [Banyaman] said.”                                                               No. 25)                      Statement
                                             Not defamatory                                                              Chart
                                                                                                                      categories
                                                                                                                       listed for
                                                                                                                         WaPo
                                                                                                                    Statement No.
                                                                                                                           25)
                 29                     What constitutes “respect”                       ¶ 252(f)                           2
                                        and being “surrounded” are                       ¶ 428(b)                           2
  “Stegenga described Phillips as           matters of opinion                           ¶ 442(b)                           2
   emotional. ‘He [Phillips] was                                                    ¶¶ 514(f), 525(g)                       9
dealing with a lot of feelings, as he        Not defamatory                         ¶¶ 514(g), 525(h)                       9
was being surrounded and not being                                                       ¶ 282(b)                          11
 shown respect,’ the photographer                                                        ¶ 313(c)                          11
         [Stegenga] said.”                                                               ¶ 514(b)                          11
                                                                                    ¶¶ 514(e), 525(e)                      11
                                                                                       ¶ 500(a)(iv)                        11
                                                                                         ¶ 525(b)                          11




                                                                   14
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                                                                                                                    EXHIBIT A
                                                                   NBCUniversal Media, LLC Reply in Support of Motion to Dismiss
                 30                           What constitutes                    ¶¶ 335(d)(ii), 384(c)                  4
                                             “mimic[king]” and                         ¶ 525(b)                         11
   “When a Native American elder         “mock[ing]” are matters of                     ¶ 457(a)                        32
  intervened, singing and playing a        subjective opinion and
    prayer song, scores of students         rhetorical hyperbole          (See also paragraphs listed for WaPo      (See NBC
around him seem to mimic and mock                                                   Statement No. 3)                Statement
him, a video posted Monday shows.”            Not defamatory                                                           Chart
                                                                                                                    categories
                                                                                                                     listed for
                                                                                                                       WaPo
                                                                                                                    Statement
                                                                                                                      Nos. 3)




                 31                       Not “about” Sandmann                          ¶ 252(a)                         1
                                                                                        ¶ 282(b)                         1
   “In an interview with The Post,      What constitutes “jeer[ing]”                    ¶ 252(g)                         1
 Omaha Tribe elder Nathan Phillips          and “mock[ing]” are                        ¶ 500(a)(i)                       1
    says he ‘felt like the spirit was   subjective matters of opinion                   ¶ 525(a)                         1
 talking through me’ as teens jeered                                                    ¶ 457(a)                        32
          and mocked him.”                    Not defamatory                            ¶ 457(c)                        33

                                                                          (See also paragraphs listed for WaPo      (See NBC
                                                                                    Statement No. 3)                Statement
                                                                                                                       Chart
                                                                                                                    categories
                                                                                                                     listed for
                                                                                                                       WaPo
                                                                                                                  Statement No.
                                                                                                                         3)


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                 32                       Not “about” Sandmann                         ¶ 252(h)                          3
                                                                                       ¶ 282(g)                         13
   “He was singing the American         What constitutes “ugly” is a                   ¶ 313(h)                         16
Indian Movement song of unity that          matter of opinion                          ¶ 457(c)                         33
  serves as a ceremony to send the
 spirits home. ‘It was getting ugly,          Not defamatory
and I was thinking: ‘I’ve got to find
 myself an exit out of this situation
 and finish my song at the Lincoln
            Memorial.’”

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                                                                 16
